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           'b"AO 245B (CASD) (Rev. 4114)     Judgment in a Criminal Case
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                                                        UNITED STATES DISTRICT COURT -..aERKUSOISTRICTCOURT
                                                                                                   DISTRICT OF CAL~~¢
                                                                                               ERN
                                                          SOUTHERN DISTRICT OF CALIFORNIA GI'J:

                             UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                                  v.                                             (For Offenses Committed On or After November I, 1987)

                                     KAREN GALSTIAN                                              Case Number: I3CR3481-BTM
                                                                                                  KNUT JOHNSON
                                                                                                 Defendant's Attorney
           REGISTRATION NO. 66765112
           o
           THE DEFENDANT:
           181 pleaded guilty to count(s) _I_O_F_T_H_E_IN_D_I...;C_T_M_E_N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           0 was found guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 after a plea of not guilty.
                 Accordingly, the defendant is adjudged guilty of such COUTIt(S), which involve the following offense(s):
                                                                                                                                                      Count
           Title & Section                             Nature of Offense                                                                             Numberls)
      18USC1349;                                 Conspiracy to Commit Bank Fraud; Criminal Forfeiture                                                         1
      18USC982(a)(2)




             The defendant is sentenced as provided in pages 2 through _ _",,5~_ of this judgment. The sentence is imposed pursuant
       o
      to the Sentencing Reform Act of 1984.
           The defendant has been found not guilty on count(s)

       'XI
                                                                        ------------------------------------------
       ~ Count(s)..:.::e;::ill;:a"In;;:In"g"c;:o.::un:::t;;.s.:.o"t=e::n=lc"tm;::e;::n::.t
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                                                                                                                          TIlte d States.
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       181 Assessment: $100 to be paid at the rate of $25 per quarter through the Inmate Financial Responsibility Program.


       181 Fine waived                                         DForfeiture pursuant to order filed _ _-,--,-_ _ _-,-_' included herein.
            IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
      or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
      defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                            MARCH 21, 2016



                                                                                          'ON:ilA TEDOSKOWITZ
                                                                                            UNITED STATES DISTRICT JUDGE


                                                                                                                                                         13CR3481-BTM
Case 3:13-cr-03481-BTM                        Document 661          Filed 04/15/16        PageID.3010              Page 2 of 5


AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                           Jiiligment-Page   ··--2 .. ----mof~··=:;·:;··_'s_ _
 DEFENDANT: KAREN GALSTIAN
 CASE NUMBER: 13CR3481-BTM
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau ofprisons to be imprisoned for a term of
         EIGHTY-SEVEN (87) MONTHS CONCURRENT TO THE SENTENCE IMPOSED IN USDC-S/CA CASE
         ISCR2S09-BTM.


    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
         That the defendant serve his sentence in Western Region.




    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.     on _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before
                   -----------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
 I have executed this judgment as follows:

        Defendant delivered on      _ _ _ _ _ _ _ _ _ _ _ _ _ to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL


                                                                    By _ _ _ _~~~~~~~~~-----
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                     13CR3481-BTM
 Case 3:13-cr-03481-BTM                        Document 661                 Filed 04/15/16              PageID.3011               Page 3 of 5


AO 245B (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               ltidginenC Page===:f -    - o~;)
DEFENDANT: KAREN GALSTIAN
CASE NUMBER: 13CR3481-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS CONCURRENT TO THE SENTENCE IMPOSED IN USDC-S/CA CASE ISCR2S09-BTM.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(.)17) and 3583(d).
       The defendant shaH comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
 5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                        13CR3481-BTM
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        AO 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                        -Judgment   Page ~of~-
        DEFENDANT: KAREN GALSTIAN
        CASE NUMBER: 13CR3481·BTM




                                              SPECIAL CONDITIONS OF SUPERVISION
IV1 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release ofthe pre·sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


~ Make restitution to the Bank of America in the amount of$221,199.16, to be paid in installments of $200.00 per month.



181 Provide complete disclosure ofpersonai and business financial records to the probation officer as requested.
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
~ Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within                days.
D Complete             hours of community service in a program approved by the probation officer within

~ Be prohibited from opening checking or credit accounts or incurring new credit charges or opening additional lines of credit without approval
    of the Probation Officer in writing.

D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
    reenter the United States illegally and repott to the probation officer within 72 hours of any reentry to the United States; the other conditions
    of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.


~ The defendant shall notifY the Collections Unit, United States Attorney's Office within 10 days, of obtaining any interest in property,
    directly or indirectly, valued at $1,000 or more including any interest obtained under any other name, or entity, including a trust, partnership,
    or corporation until restitution is paid in full. The defendant shall notifY the Collections Unit, United States Attorney's Office at least 10
    days, before transferring any interest in property valued at $1,000 or more owned directly or indirectly by the Defendant, including any
    interest held or owned under any other name or entity, including a trust, partnership, and/or corporations.




                                                                                                                                   13CR3481 ·BTM
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     AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

       DEFENDANT:            KAREN GALSTIAN [I]                                                  Judgment - Page 5 of 5
       CASE NUMBER:          13CR3481-BTM

                                                RESTITUTION


      The defendant shall pay restitution in the amount of $221,199.16            unto the United States of America.
      For the benefit of Bank of America through the Clerk of Court




      This sum shall be due immediately. And shall be paid as follows: During any period of incarceration the
      defendant shall pay restitution through the Inmate Financial Responsibility Program at the rate of 50% of
      the defendant's income, or $25.00 per quarter, whichever is greater. The defendant shall pay the
      restitution during his supervised release at the rate of $200 per month. These payment schedules do not
      foreclose the United States from exercising all legal actions, remedies, and process
      available to it to collect the restitution judgment.




      The Court has determined that the defendant    does not    have the ability to pay interest. It is ordered that:
          The interest requirement is waived




                                                                                                           13CR3481-BTM
